             Case 2:14-cr-00044-TLN Document 70 Filed 06/18/15 Page 1 of 5


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     CALIFORNIA STATE BAR NUMBER 123357
 2
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 6
     ATTORNEY FOR DEFENDANT
 7   VALERIY NIKITCHUK
 8

 9

10
                        IN THE UNITED STATES DISTRICT COURT FOR THE
11
                                EASTERN DISTRICT OF CALIFORNIA
12

13

14
     UNITED STATES OF AMERICA, )              CR.NO.S-14-44--MCE
15                              )
     PLAINTIFF,                 )             STIPULATION BETWEEN THE PARTIES TO
16
                                )             CONTINUE THE STATUS CONFERENCE TO
17                   v.         )             THURSDAY, SEPTEMBER 24, 2015 WITH
                                )             EXCLUSION OF TIME FROM THE SPEEDY
18   ALEKSANDR KUZMENKO, et al.,)             TRIAL ACT AND ORDER
19
                                )
                                )
20   DEFENDANTS.                )
     ___________________________)
21

22         The parties to this litigation, the United States of America, represented by
23
     Assistant United States Attorney, Michele M. Beckwith, and for the defendants: 1-
24
     Kresta N. Dally representing Aleksandr Kuzmenko.; 2- Michael L. Chastaine
25
     representing Petr Kuzmenko.; 3- Steven B. Plesser representing Arsen Muhtarov; and
26
     4- James R. Greiner representing Valeriy Nikitchuk hereby agree and stipulate to the
27

28




     Stipulation and Order - 1
                     Case 2:14-cr-00044-TLN Document 70 Filed 06/18/15 Page 2 of 5


 1
     following1:
 2
                                 1- By previous order, this matter was set for status on Thursday,
 3
     June 25, 2015, see docket number 68.
 4
                                 2. By this Stipulation, the defendants collectively now move to
 5
     continue the status conference until Thursday, September 24, 2015 and to exclude
 6

 7
     time pursuant to the Speedy Trial Act between Thursday, June 25, 2015 and

 8   Thursday, September 24, 2015, under Local Codes T-2 (complexity due to the

 9   amount of discovery, number of defendants and potential legal issues) and T-4

10   (time for adequate attorney preparation). The government, to date, has produced
11   discovery of more than approximately 15,300 pages in this case.
12                               3. The parties agree and stipulate to the following and request the
13   Court to find the following:
14                               a. The government has produced initial discovery to date which
15
     consists of approximately over 15,300 pages.
16
                                 b. Counsel for all defendants need additional time to continue to
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     review all the discovery with their respective clients, to continue investigation into this
18
     case, continue to do research, which includes legal research, in this case, and to
19
     otherwise continue to do review and investigation, using due diligence, that this complex
20
     case requires.
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                                 d. Counsel for all defendants represents that the failure to grant the
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     above requested continuance would deny counsel for each individual defendant the
23
     reasonable time necessary for effective preparation, taking into account the exercise of
24

25
     due diligence.

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                1
                    The government requested that the format presented in this stipulation be used by the
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     parties.
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     Stipulation and Order - 2
              Case 2:14-cr-00044-TLN Document 70 Filed 06/18/15 Page 3 of 5


 1
                          e. Petr Kuzmenko’s attorney, Mr. Chastaine, is scheduled for Trial
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     in this district on June 22, 2015, (CR-S-11-450--TLN), which is scheduled to go to
 3
     approximately the middle of July, 2015. In addition, Mr. Chastaine was in a multi-
 4
     defendant Federal trial earlier this year (Case CR-S-11-210—JAM) which concluded on
 5
     Friday, February 13, 2015, which means Mr. Kuzmenko’s attorney, Mr. Michael L.
 6

 7
     Chastaine has been in trial and trial preparation for months and Mr. Chastaine needs

 8   additional time as stated herein.

 9                        f. All defense counsel need additional time to review the over

10   approximately 15,300 pages of discovery with their respective clients, and to do
11   investigation regarding that discovery and leads from their respective clients, with some
12   defendants having investigation in various states outside of the State of California.
13                        f. The government, based on all of the above, does not object to the
14   continuance.
15
                          g. Based on the above stated findings, the ends of justice served by
16
     continuing the case as requested outweigh the interest of the public and all the
17
     defendants in a trial within the original date prescribed by the Speedy Trial Act.
18
                          h. For the purpose of computing the time under the Speedy Trial
19
     Act, Title 18 U.S.C. section 3161, et seq., within which trial must commence, the time
20
     period from Thursday, June 25, 2015 to Thursday, September 24, 2015, inclusive, is
21
     deemed excludable pursuant to Title 18 U.S.C. section 3161(h)(7)(B)(ii) which
22
     corresponds to Local Code T-2 and Title 18 U.S.C. section 3161(h)(7)(B)(iv)
23
     corresponding to Local Code T-4, because it results from a continuance granted by the
24

25
     Court at defendants’ request on the basis of the Court’s finding that both, the case is

26   complex due to the amount of discovery and number of defendants and potential legal

27   issues in the case and that the ends of justice served by taking such action outweigh

28   the best interest of the public and all of the defendants in a speedy trial.




     Stipulation and Order - 3
              Case 2:14-cr-00044-TLN Document 70 Filed 06/18/15 Page 4 of 5


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            4. Nothing in this stipulation and order shall preclude a finding that other
 2
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 3
     from the period within which a trial must commence.
 4
                          IT IS SO STIPULATED.
 5
                          Each attorney has granted James R. Greiner full authority to sign
 6

 7
     for each individual attorney.

 8          Respectfully submitted:
                                BENJAMIN B. WAGNER
 9                              UNITED STATES ATTORNEY
10
     DATED: 6-15-15              /s/ Michele M. Beckwith
11                               _____________________________________
                                 Michele M. Beckwith
12                               ASSISTANT UNITED STATES ATTORNEY
13                               ATTORNEY FOR THE PLAINTIFF

14   DATED: 6-15-15
                                 /s/ Kresta N. Dally
15
                                 ___________________________________
16                               Kresta N. Dally
                                 Attorney for Defendant
17                               1- Aleksandr Kuzmenko
18
     DATED: 6-15-15              /s/ Michael L. Chastaine
19                               __________________________________
                                 Michael L. Chastaine
20                               Attorney for Defendant
                                 2- Petr Kuzmenko
21

22   DATED: 6-15-15              /s/ Steve B. Plesser
                                 __________________________________
23                               Steve B. Plesser
24
                                 Attorney for Defendant
                                 3- Arsen Muhtarov
25
     DATED: 6-15-15              /s/ James R. Greiner
26                               ________________________________
27                               James R. Greiner
                                 Attorney for Defendant
28                               4- Valeriy Nikitchu




     Stipulation and Order - 4
              Case 2:14-cr-00044-TLN Document 70 Filed 06/18/15 Page 5 of 5


 1                                              ORDER
 2
            IT IS HEREBY ORDERED, the Court, having received, read, and considered the
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     parties’ stipulation, and good cause appearing therefrom, adopts the parties’ stipulation

 5   in its entirety as its order. The Court specifically finds the failure to grant a continuance

 6   in this case would deny counsel reasonable time necessary for effective preparation,

 7   taking into account the exercise of due diligence. The Court finds the ends of justice

 8   are served by granting the requested continuance and outweigh the best interests of the
 9   public and defendant in a speedy trial. It is further ordered that the June 25, 2015 status
10   conference is continued to September 24, 2015, at 9:00 a.m.
11          IT IS SO ORDERED.
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     Dated: June 17, 2015
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     Stipulation and Order - 5
